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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


    GIGI KAI ZI CHAN

                   Plaintiff,
                                                              Civil Action No. 19-cv-11605-WGY
                             v.

    WELLINGTON MANAGEMENT
    COMPANY LLP AND CHARLES ARGYLE,

                   Defendants.


                 DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
              TESTIMONY THAT PLAINTIFF’S MISCARRIAGES WERE
           CAUSALLY RELATED TO HER EMPLOYMENT AT WELLINGTON

         Defendants Wellington Management Company LLP (“Wellington”)1 and Charles Argyle2

(“Defendants”) respectfully move in limine to exclude any evidence of any miscarriages Plaintiff

had during (or after) her employment at Wellington because Plaintiff has no evidence of causation

and because the prejudicial effect of even the mention of miscarriages substantially outweighs any

remote probative value. As additional support, Defendants rely on their Memorandum of Law in

support of this motion.




1
 Plaintiff was employed by Wellington Management Hong Kong (“WMHK”). However, Wellington is not contesting
co-employment for purposes of this litigation.

2
  Charles Argyle timely moved for summary judgment on the only count asserted against him, Count 6, which
purported to allege a cause of action for tortious interference. The Court ruled as follows: “As to Counts 5 and 6 the
motions are allowed insofar as they are duplicative of discrimination counts, but to the extent there is evidence of
tortious interference summary judgment is denied.” See Dkt. No. 77. Due to the lack of any evidence of tortious
interference, the claim against Mr. Argyle should be dismissed prior to trial, but he joins in this motion because as of
the date of the filing of this motion, he remains named as a Defendant on the docket.
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                                           Respectfully Submitted,

                                           WELLINGTON MANAGEMENT COMPANY
                                           and CHARLES ARGYLE,

                                           By their attorneys,

                                           /s/ Stephen T. Paterniti
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Dated: September 28, 2021




                          LOCAL RULE 7.1 – CERTIFICATION

        Pursuant to Local Rule 7.1, on September 24, 2021, counsel for the parties conferred by
phone in a good-faith effort to resolve or narrow the issues addressed in Defendants’ motion.
Plaintiff’s counsel indicated that he would not agree to the relief requested in the motion.


                                                   /s/ Stephen T. Paterniti
                                                   Jackson Lewis P.C.




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                               CERTIFICATE OF SERVICE

        This hereby certifies that on September 28, 2021, this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                    /s/ Stephen T. Paterniti
                                                    Jackson Lewis P.C.

4851-5343-9484, v. 1




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